                              Case 7:20-cv-00383-LSC Document 1 Filed 03/20/20 Page 1 of 21                                                                       FILED
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                                                                                                                                                         U.S. DISTRICT COURT
Pro Sc \ 'J (Hl'V. 12.1 lb) Lompla1n1 fur V1o!dl1on of Civil Rights (Non Pn~rn1er)                                                                           N.D. OF ALABAMA



                                                    UNITED STATES DISTRICT COURT
                                                                                        for the

                                                                             :-iorthem Disn·ict of Alabama


                                                                                                                                       j ,,




       GRANT SUNNY IRIELE, as the personal
 representative of the Estate of ROSEMARY EWE RE                                                  Cdsr No.
    IRIELE (also known as ROSEMARY OFUME),                                                                            (to he filled in by che Clerk'c; Office)

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                                            COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                                                            (Non-Prisoner Complaint)


                                                                                       NOTICE

    Federal Rules of Civil Procedure S.2 addresses the privacy and security concerns resulting from public access to
    electronic court filc•s. lJndrr this rule, paprr; filf'd with the court 'ihould not t'Ollfitin: itll i11dividt1i\I'.., f111l 'iorinl
    security number or full birth date; the full name of a person known lo he a minor; or a rnmplete financial account
    number. A filing may indude only; the last four digits of a social security number; the year of an individual ·s
    birth; a minor·s initiah; and the last four digits of a financial account number.

    Except as noted in this fom1. plaintiff need not send rxhihits. affidavits, grievance or witness 5tatements. or any
    othe1 llldtedJls lo the Ckrk 's Office with chi, rnmpl<1int.

    In order for your complaint to be filed. it must be accompanied by the tiling tee or an application to proceed in
    fnnna pauperis.
                          Case 7:20-cv-00383-LSC Document 1 Filed 03/20/20 Page 2 of 21

Piu Sc 1:i (Rev. l 2!Jti/ Compldrnt fur Vtoidhun of Cn ti H.1ght~ {!'-lull Pi 1~0111.:1)


I.          The Parties to Thi~ Complaint

            A.          The Plaintiff(s)

                        Provide the infonnation below for each plaintiff named in the complaint. Attach additional pages if
                        needed.
                               NamLl                                               GRA!\ T SUNNY IRIELE
                               .\ddn•"                                             /15 E 32ND ST (APT 2C)
                                                                                   BROOKLYN                            !\Y                      11210
                                                                                                   City                Stace                   lip Code
                               County                                              Kill.GS
                               Telephone Nnmher                                    (917) 513-7549
                               E-Mail .\ddress                                     grant.s,lrlele@gmail.com

           B.           The Defendant(s)

                        Provide the intormation below for each defendant named in the complaint, whether the defendant is an
                        individual, a government agency, an organization, or a corporation. For an individual defendant,
                        include the person's joh or title (if known) and check whether you are bringing this complaint against
                        them in their individual capacity or official capacity, or both. Attach additional pages if needed.

                        Defendant No.
                               Name                                                SEE ATTACHED
                               .Joh or ritle     (i(lo1uwn)

                               Address

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                                                                                  0        Individual capacity   D f)fficial Cilpacity
                        Defendant No. 2
                               Name                                               SEE ATIACHED
                              Job or Title (If known)
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                              County
                              Telephone Number
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                                                                                 0         Individual capacity   0   Official capacity
                Case 7:20-cv-00383-LSC Document 1 Filed 03/20/20 Page 3 of 21



               Defendant No. 3
                    Name                                  SEE ATTACHED
                   Joh or Title (if known!
                    .\ddress


                                                                        City            Stare              lip (:ode

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                   I elephone Number
                   F-Mail Address (if known)

                                                         D Individual Ldpdcity D Official Cdpacity
              Defendant No. 4
                   Nan1c                                  SEE ATTACHED
                   Job or Title (if known I
                   '\thin'""'

                                                                        ('icy          ';tare              lip Code
                   County
                   Telephone Number
                   E-Mail Address (1/ known/

                                                         D Individual capacity D Official capacity
II.   Basis for Jurisdiction

      Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
      tmmunities secured by the Constitution and I federal laws J." Under Bivens v. Six Unknown Numed Ayeru.> of
      Federal Bureau a/ Narcotics. 403 US. 388 ( 1971 ), you may sue tederal otficials for the violation o! certain
      constitutional rights.

      -"'-·   .;\re you bringing suit against (check all that app/v):

              ~    1-ederal otficials (a Bivens claim)

              D State or local officials (a§ 1983 claim)
      H.      Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
              the Constitution and [federal lawsJ." 42 U.S.C. § 1983. If you arc suing under section 1983, what
              federal constitutional or statutory right(s) do you claim is/arr bring violated by 'tatP or local official')




      C:.     Plaintifr, 'uing under Bivens may only recover for the violation of certam constitutional rights. It you
              arr "'ing under flivem, what constitutional right(s) do you claim i'1dre hring violated by federal
              officials·:
                         Case 7:20-cv-00383-LSC Document 1 Filed 03/20/20 Page 4 of 21

PrrJ Se IS (Rl"\I l 2/J b) Cornpldint ft}r Vtoldtton of Civd Rtphls (Nun Pn~uner)


                       A prison staff's deliberate Indifference to the serlous medical needs of prisoners Is "cruel and unusual
                       punishment" forbidden by the Eighth Amendment. The paln. suffering. emotional distress. and wrongful
                       death Inflicted upon Rosemary Ewere lrlele. as well as the subsequent attempt at covering tt up. was a
                       callous violation of her Eighth Amenornent rights.



           D.         Senion 198:1 allows defendants ro he found liahle only when they have acted "under color of any
                      stdtUtP. ordinance. regulatinn. rnstom. or usage. of any State or Territory or the District of C.olumhia."
                      42 1r.s.c. § I g81. If you arr q1ing undrr section 1983, explain how each defendant acted under color
                      of '>tate or local law. It you are suing under Bivens, eXJ)lain how each defendant acted under color of
                      federal law. Attach additional pages if needed.




III.     Statement of Claim

         State as briefly as possihle the facts of your case. Descrihe how each defendant was per-.onally involved in the
         alleged wrongful anion, along with the date'> and locations of all relevant events. You may wish to include
         further details such as the names ot other persons involved in the events giving rise to your claims. Do not cite
         any cases or statutes. ff more than one claim is asserted, number each claim and write a short and plain
         statement of each claim in a separate paragraph. Attach additional pages if needed.

          \.          Whe1t' clid the evenh giving rise to your claim(s) occur'


                      FCI Aliceville
                      Aliceville. Alabama



         H.           Whal date and approximate time did the events giving rise to your daim(s) occur'


                      From on or about March 7th 201B up to and Including March 21st 201 B




         C.           What are the facts underlying your claim(s)? (for example: Whac happened w you> Who did whac?
                      Was anyone else involved" Who else saw whac happened!/




                      SEE ATTACHED
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Pru Sc 15 (Rev. 12/16) Cumptdull for VioJ,n1on uf Civil Righis (Non Pn'>nncr)




IV.      Injurie>

         If you sustdined injuries reldted to the events alleged dbove. describe your injuries dlld sldle what mediLal
         treatment, if any, you required and did or did not receive.




          SEE ATTACHED




V.       Relief

         State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statute<;
         If requesting money damages, include the amounts of any actual daniages and/or punitive damages daimed for
         the acts alleged. Explain the basis for these claims.


          1) That Plaintiff be awarned sur.h compensatory damages as a jury shall determine from the evidence Plalntltt Is
          entitled to recover:

          2) That Plalntlff be awarded against the Individual defendants such punitive damages as a jury shall determine
          from the evidence Plalntltt Is entitled to recover;

          3) That Plaintiff be awarded prejudgment and postjudgment Interest at the highest rates allowed by law;

          4) That Plaintiff be awarded the costs of this action, reasonable attorney's fees. and reasonable expert witness
          fees,

          5) That Plaintiff be awarded appropriate declaratory and Injunctive relief to put In place measures to ensure. to
          the best of the Court's ability, that no other Inmate at FCI Aliceville ts treated In such a manner as Mrs. lrlele was
          treated and to ensure that proper procedures and safeguards are put in place to ensure that Inmates at FCI
          Aliceville get appropriate medical treatment; and

          6) That Plalntift be awarded such other and further relief to which plalntifl is justly entitled.
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Pru Sc 15 (Rev. 11il6) Compldllll fur V1o!Jt1on of Civil H.ighls (Nun Pn)r!!lt:l)




VI.      Certific.ition and Closing

         Under rederal Rule of Civil Procedure 11, by signing below, I certify lO the best of my knowledge, information,
         and belief that this complaint: ( l) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing exbting ldw; (3) the fdUUdi umtemiu11s hdve
         evidentiary support or, if speLifiLally so idemified, will likely have evidemiary support dfter a reasonable
         opportunity tor further investigation or discovery: and (4) the complaint otherwise complies with the
         n•quirements of Rule 11.



         A.           For Pdrtie> Without dll A11oruey

                      I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                      served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                      in the dismissal of my case.


                      Ddte of signing:


                      Signature of Plaintiff
                      Printed Ndme of Plaintiff                  Grant Sunny lrlele


         B.           For Attorneys

                      Date of 5igning:


                      Signature of Attorney
                      Printed Ndme of Attorney
                      Bar Number
                      Ndn1e of Law l-'inn

                      ,\ddress


                                                                                    City                     Zip Codi:

                      Telephone Number
                      f.-rndil .\dclic·"
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               BIVENS CLAIM ATTACHMENT - ROSEMARY EWERE IRIELE




                      UNITED STATES DISTRICT COURT
                                   for the
                         Northern District of Alabama
                              Western Division

                Bivens Claim Attachment - Rosemary Ewere Iriele




Introduction

      This lawsuit is being brought forth to seek justice for the Defendants'
callous and deliberate indifference to the serious medical needs of Rosemary
Ewere Iriele, an African-American, beloved wife, and mother of three, who was
incarcerated awaiting appeal at Aliceville FCI, Alabama, and for her barbaric,
wrongful and easily avoidable death, following and accompanied by extreme and
unbearable pain, suffering, and emotional distress at the hands of the Defendants

       This action seeks compensatory and punitive damages against the individual
Defendants for the death of Rosemary Iriele and for the callous and barbaric way
they treated her in the days leading up to her death. Nothing can fill the void her
senseless death has left for her husband, her children and so many others who so
deeply loved her, but Plaintiff hopes this lawsuit will bring some measure of justice
for Mrs Iriele and her family and will help prevent this kind of thing from
happening again to another innocent victim.

        Rosemary Iriele's life was so cruelly and senselessly taken by the
Defendants' callous actions and by their failure to act in a manner that is consistent
with fundamental principles of human decency and, more importantly, with Mrs.
Iriele's constitutional rights.

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                 BIVENS CLAIM ATTACHMENT - ROSEMARY EWERE IRIELE


Nature of Action

      This is a civil action brought by Grant Iriele, whose mother and decedent,
Rosemary Ewere Iriele, was denied her fundamental constitutional rights by
Defendants while incarcerated in FCI Aliceville Prison from the night of March 7,
2018 until her tragic, senseless, and avoidable death on March 21, 2018.
Specifically, all Defendants were deliberately indifferent to Rosemary Iriele's
serious medical needs in violation of her rights as a detainee under the Eighth
Amendment to the United States Constitution.



FTCA


      An FTCA notice of claim has been sent to the BOP regional office and is
currently working its way through the administrative process.



Parties

       Plaintiff Grant Iriele is an adult resident citizen of Kings County, New York.
He is the unanimously selected Executor and Personal Representative for the
Estate of Mrs. Rosemary Ewere Iriele (decedent) as well as her eldest child.

       Defendant Richard Carroll Griffin was a GS-15 Medical Officer, according
to Federal Pay 1, at all relevant times. As a G-51 Medical Officer he was an acting
doctor and had a supervisory role inside Aliceville FCI. Many of Rosemary's
medical encounters were reviewed or consigned by the Defendant. He is liable to
the Plaintiff for his conduct in this case based on his direct actions and failure to
act, notwithstanding the duty to do so, and based on his supervisory role and


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 Federal Pay coalates federal employee information form OPM and other publically provided datasets
https //www federal pay org/

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               BIVENS CLAIM ATTACHMENT - ROSEMARY EWERE IRIELE


responsibility. Litigation is brought forth against him in his individual capacity
only.

      Defendant Patricia V. Bradley was a Correctional Institution Administrator,
according to "Federal Pay" at all relevant times. She is liable to the Plaintiff for her
conduct in this case based on her direct actions and failure to act, notwithstanding
the duty to do so, and based on her supervisory role and responsibility. Litigation is
brought forth against her in her individual capacity only.

       Defendant Elizabeth A. Knopp was a nurse at FCI Aliceville Prison,
according to "Federal Pay, at all relevant times. She is liable to the Plaintiff for her
conduct in this case based on her direct actions and failure to act, notwithstanding
the duty to do so, and based on her role and responsibility. Litigation is brought
forth against her in her individual capacity only.

       Defendant Christopher P. Potter was a Health Aid and Technician at FCI
Aliceville Prison, according to "Federal Pay, at all relevant times. Notably he is not
a registered nurse in the state of Alabama. He is liable to the Plaintiff for his
conduct in this case based on his direct actions and failure to act, notwithstanding
the duty to do so, and based on his responsibility. Litigation is brought forth against
him in his individual capacity only.

      Defendant Jason S. Etheridge was a nurse at FCI Aliceville Prison,
according to "Federal Pay, at all relevant times. He is liable to the Plaintiff for his
conduct in this case based on his direct actions and failure to act, notwithstanding
the duty to do so, and based on his supervisory role and responsibility. Litigation is
brought forth against him in his individual capacity only.

       Defendant "Unnamed Officer 1 Jones", full name unknown, was a
correctional officer employed at FCI Aliceville Prison at all relevant times.
Litigation is brought forth against them in their individual capacity only.


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                     BIVENS CLAIM ATTACHMENT - ROSEMARY EWERE IRIELE



       Defendant "Unnamed Officer 2'', full name unknown, was a correctional
officer employed at FCI Aliceville Prison. It is likely that they are also officer
Jones, but this is not explicitly known. Litigation is brought forth against them in
their individual capacity only.



Facts

       At the time of Rosemary's intake on or around August 20th 2017 she had
already been given the TST 2 at Robert A. Deyton Detention Facility (herein
referring to as "Lovejoy") on July 21st 2017, which she tested positive for.

      On August 24th Rosemary was again given a TST at FCI Aliceville. Nurse
Nikki RN evaluated results of the test as negative, seemingly 3 days after the cutoff
time evaluating results. It's worth noting here that the TST only tests if you have
ever been exposed to Tuberculosis, it does not confirm if you have it so it's nearly
impossible to test negative after a positive test.

      Given that Rosemary was both given the BCG vaccine as a child and was
born outside of the United states she should have been subject to a 2-step test.
Despite knowing this, Nurse Nikki never ordered anything.

      Rosemary transferred out of Aliceville back to Lovejoy for on or around
September, 2018. At Lovejoy, she was given a chest x-ray for TB that came up
negative.

       On March 7th 2018, Rosemary was transferred back to Aliceville in fair
health.



2
    TST refers to the Tuberculin Skin Test

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                    BIVENS CLAIM ATTACHMENT - ROSEMARY EWERE IRIELE


        On March 8th 2018, Nurse Jason Scott Etheridge tried to give yet another
TST to Rosemary. Rosemary vocally objected to being administered this test on the
grounds that she had been given the test twice before and her doctor warned her
not to let anyone give her that test again due to hypersensitivity concerns. Instead
of acting in the interest of Rosemary's health he not only ignored her vocal
objections, he threatened to throw her in the "SHU3 " if she didn't allow this
procedure. He then either conveniently failed to document the administration or
removed it upon realizing it harmed Rosemary. Had Rosemary not been making
calls to her children and chatting with her fellow inmates he would have succeeded
in burying his wrongdoing. There are no records of the lot number, dosage, and
antigen used.

           It is completely inappropriate to force a patient to accept any injection if
that patient loudly objects, and to subsequently destroy/omit records related to that
event. Had he just listened to Rosemary he could have done an x-ray, like Lovejoy,
which would have either never led to an underlying PE, or revealed an underlying
issue.

      Rosemary explicitly expressed her medical need to Nurse Etheridge in the
form of not allowing a completely redundant, unnecessary, and harmful TST to be
administered. With no regard to BOP policy as it relates to TB testing history or
her medical records, he forced her to get the TST injection, by threat of SHU
confinement.

       Immediately after the March 8th 2018 encounter, Rosemary documented the
incident and submitted a grievance/complaint report to the staff at FCI Aliceville
detailing that she had been threatened to take the TST.

       Nurse Etheridge came back, apologized and attempted to be friendly with
her, but the damage was done. This means the medical staff inside Aliceville knew

3
    SHU refers to solitary confinement

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              BIVENS CLAIM ATTACHMENT - ROSEMARY EWERE IRIELE


of Rosemary's grievance/comolaint report and buried it. This complaint has yet to
be released to Rosemary's family; Fortunately, Rosemary recounted this event to
her children over the phone so there is a record of it.

       After the TST administration on March 8th 2018, Rosemary became gravely
ill, which was uncharacteristic of her. This was so strange that Stanley, Rosemary's
son, was taken aback by it when they spoke on the phone.

      Up until March 8th 2018, Rosemary had been tested twice, but she had
NEVER reacted to any other TST administration prior to the one administered by
Nurse Etheridge (herein will be referenced as "Etheridge"). On a phone call with
Robin, Rosemary's daughter, Rosemary detailed how as soon as she received the
shot her entire body felt horrible. She felt itchy, dizzy, light headed, couldn't walk
long distances, and started showing cold like symptoms.

       On March 15th 2018, Rosemary reported that she was having an adverse
reaction to the TST forced upon her by "Health Aide and Technician" Christopher
P. Potter (herein will be referenced as "Potter"), yet Potter claims they don't exist
and documents as much. Notably, Potter is not a registered Nurse in Alabama.

       Potter's documentation of that encounter is contradicted by other inmates
and Rosemary's calls with her children. During the phone calls between March
15th-19th of 2018 Rosemary described rashes, and even mentioned that she was
told by Potter to get Hydrocortisone from the commissary, which she did. When
Rosemary's belongings were mailed to her residence after she died,
Hydrocortisone was among them. This indicates that Potter is simply not reporting
what actually transpired.

     As Rosemary's condition dramatically worsened between March 15th and
March 19th, she kept going to "sick call" and asking to receive medical attention.



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              BIVENS CLAIM ATTACHMENT - ROSEMARY EWERE IRIELE


       Richard Griffin (herein will be referenced as "Griffin") and Potter were well
aware of Rosemary's suffering and serious medical need because when she was at
the clinic Griffin and Potter belittled her, turned her away, refused to diagnose her
or otherwise provide her with medical care. This is notable because according to
the medical records there had been no medical evaluation to ascertain Rosemary's
condition between March 15th through March 19th, yet the medical staff callously
rejected her pleas to receive medical care.

      Witnesses recounted that not only were her pleas for medical treatment
denied, Griffin and Potter also accused her of faking sickness to get free medicine.
Had they simply actually examined her they would have spotted her patently
obvious pulmonary emboli symptoms that required medical attention and
prevented her untimely demise. These symptoms were, but not limited to:

         1. Acute Cough
         2. Chest Pain
         3. Tachycardia (Elevated resting heart rate: above 100)
         4. Cyanosis (Blue/Gray appearance)
         5. Dyspnea (Difficulty breathing)
         6. Migraine with Aura (Headache with vision issues)
         7. Skin rash
         8. Lightheadedness /Dizziness
         9. Unexplained drop in weight
         10.Unexplained drop in blood pressure
         11. Sudden blurry vision
         12.No elevated temperature
         13.EKG that shows signs of previous heart issues

      Even discounting the symptoms reported by other Inmates and what
Rosemary described on the phone, symptoms are present that the Merck manual
warns as red flags. The following are of particular importance:


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                BIVENS CLAIM ATTACHMENT - ROSEMARY EWERE IRIELE



          1. Unexplained drop in weight loss
          2.   Unexplained drop in blood pressure
          3.   Sudden blurry vision
          4.   No elevated temperature
          5.   EKG that shows previous heart issues

According to the Merck manual, all of these warrant medical attention. Based on
witness testimony, letters, and what was observed in the medical files, Nurse
Knoop took no action or took clearly inadequate, cursory action, so as to amount to
no treatment, preventing her from receiving necessary and appropriate medical
care. It is readily apparent that Nurse Knopp was only writing down symptoms that
justified her getting out of actually providing Rosemary with the medical care she
obviously needed.

Even a lay person can see that losing 9 lbs in 4 days is a problem, etc; so it is
beyond belief that a healthcare provider somehow did not know this.

       Nurse Knopp made absolutely no attempt to provide Rosemary with any
such medical care despite being well aware of the risks. Knopp either knew, or
should have known, of Rosemary's serious medical need. She deliberately chose to
ignore Rosemary's patently obvious symptoms, intentionally declining to even
provide her medication to suppress the symptoms, and leaving her to needlessly
suffer. Rosemary had to turn to other inmates to get help in trying to ease the
symptoms she was experiencing.

       Rosemary became increasingly desperate and started reaching out to her
children about how Aliceville was refusing to treat her or even supply her with
medication to suppress the symptoms. It is unimaginably cruel to tell someone
suffering in pain that they are "faking" their condition.



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              BIVENS CLAIM ATTACHMENT - ROSEMARY EWERE IRIELE


      When Rosemary reported this to her children they raised their complaints
with Aliceville via phone and the appellate Attorneys via email. This is when
Rosemary began detailing everything that was happening inside Aliceville to them.
Notably, Aliceville staff has failed to turn over a number of the calls that took place
between March 15th and March 19th.

       Prior to Rosemary's death, On March 18th 2018, Grant (her son) was
communicating his concerns about Aliceville via email to the appellate Attorneys.
He raised concerns about their refusal to treat her, and the efforts that he and his
siblings were making.

       On a phone call with Robin (her daughter) on March 18th 2018, she further
details how she was coughing through the night and that for her that was extremely
unnatural because as a Healthcare provider herself she had been exposed to all
sorts of pathogens with no issue.

     According to Lorri Jackson-Brown [69947-019), Rosemary was coming out
of Medical. She was crying in pain-you could look at her and tell she was in pain.
Rosemary said "they won't do anything to help me"

       According to Kerstin Preis-Jones [76405-379), Rosemary told her that her
chest hurt and her head hurt. She died on a Wednesday. Tuesday they talked.
Rosemary told her that medical "doesn't want to do anything to help me."

       On the morning of March 21st 2018, Rosemary's condition got so
undeniably severe that she could not lie down for fear of losing her breath
altogether and her roommate, Leslie Furgeuora-Espinoza, pushed the alarm to call
for help during this emergency.

       A correctional officer came, Unnamed Officer 1, deactivated the alarm,
observed Rosemary's serious medical need in that she was dying in front of him
and said "she will be alright, she can go to sick call". The only thing this


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                 BIVENS CLAIM ATTACHMENT - ROSEMARY EWERE IRIELE


"individual"4 had to do was call the medical staff to help her and he deliberately
refused to do that.

       As dire as this situation was, at this time Rosemary could have still been
saved with blood thinners, anticoagulants, and thrombolytics . In other words, this
officer had a duty to ensure Rosemary's safety, observed a serious medical need,
and somehow concluded that dying was not an emergency.

      After this initial dismissal, Rosemary told her roommate to go to breakfast as
there wasn't anything more she could do for her. Leslie instead went to go and find
medication, but when she returned the situation got worse with Rosemary
collapsing.

        Leslie hit the emergency alarm again. The same, or a different, officer came
and simply told Leslie to fill out paperwork and left after turning off the alarm.
From Leslie's Letter: "That is when I pushed the alarm button [again] that the
officer came with such disdain and told me to fill out a medical slip and get her to
sick call".

        Again, Rosemary's serious medical need was directly observed, and she was
left to die by correctional officers inside Aliceville. Had it not been for these
Officers' repeated callous derelictions of duty, and deliberate indifference to
Rosemary's serious medical needs, she would be alive today.

       Rosemary's condition continued to deteriorate again, and Leslie hit the
alarm for the 3rd time before personnel showed up. It was then when officers
showed up who gave this situation some attention. At this time 2 officers came and
asked what was wrong. These officers, contrary to the previous bunch, tried to help
Rosemary, but at this time she was unresponsive.

       When medical showed up, Potter, who again is not a licenced nurse, ran over
to Rosemary, threw her to the ground, and started performing CPR. The final act
that took Rosemary's life was Potter's reckless actions. Had Potter simply
investigated the situation, as any reasonable health care provider would have done,
he would have known that CPR was the exact wrong thing to do. Potter is a trained

4
 The word 'individual' because It's difficult to describe the man who let Rosemary die as anything
without descending into unprofessional verbage.

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medical professional and should have been able to diagnose those situations and
perform the necessary procedure.

      Rosemary died in her cell according to 2 separate witnesses. This is in direct
contrast to what Richard Griffin and other named and unnamed staff purported on
Rosemary's final day. Notably missing from Aliceville's medical records are vitals,
blood pressure, BPM or any instrumental measurements taken when Aliceville
claimed to be performing procedures to save her life. All of this is documented in
Leslie's Letter, and backed up by witness testimony.

      When Rosemary died, all of Rosemary's children immediately provided a
written record of their recollection of events relating to their Mother's health and
treatment inside Aliceville while it was painfully fresh. This was all before they
were informed of anything that had actually occurred.

      What's important to know is that while they were making the calls, and
writing these emails they had yet to receive any letters from inmates, cause of
death report from Alabama, or independent autopsy report. No one can make the
claim that they were practicing revisionist history regarding Rosemary's symptoms
and their observations.

       At the direction of Warden Patricia V. Bradley, unnamed investigators
sequestered Leslie Furgeuora-Espinoza, Rosemary's cellmate and the inmate with
the most first-hand knowledge of Rosemary's pain, suffering, emotional distress,
and wrongful death. Leslie was sequestered and locked in a bathroom for several
hours, where the investigators repeatedly attempted to coerce Leslie to say that
Rosemary fell or injured herself and that this is how she died. It is only after
Leslie's repeated refusal to be coerced, that the investigators actually inquired
about the circumstances around Rosemary's death.

      Of particular note is Elizabeth Etheridge's report on the day of Rosemary's
death. It largely corroborates Leslie's written account of what happened.


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      Multiple witnesses have suggested that camera footage be reviewed to
corroborate everything that happened to Rosemary. A spoliation letter sent to FCI
Aliceville, shortly after Rosemary's death, regarding the preservation of evidence
makes this possible.

       In the medical report prepared by Richard Griffin he details attempts made
to save Rosemary's life that run contrary to first-hand witness accounts. More
curiously, this is the first time Rosemary's condition is accurately transcribed.
Somehow, when Rosemary died, the medical staff noted that she "had chest pain,
cyanosis", but reports that Rosemary is unconscious. Looking closer he also
reports that she is not breathing. It's beyond ridiculous for Rosemary to actually be
correctly examined only after her death, with the threat of external eyes looming.
Defendant Griffin was aware of all relevant facts and made efforts to obfuscate the
circumstances around Rosemary's death.

      Rosemary's family believed the BOP, and whoever they used to conduct the
autopsy, was going to try to protect themselves from the consequences of any
wrongdoing; Rosemary's family opted to have an independent autopsy performed.

        When the family asked for Rosemary's body to be sent to them so that an
independent autopsy could be performed, they were informed that Rosemary
would not be released to them for 2 MONTHS. The individual states on the phone
that it was BOP policy (It wasn't). They were never asked if they authorized the
autopsy. Upon checking into the law, the only way this can occur is if the
government is doing this to protect itself from civil liability.

       As they had thought, in an attempt to obfuscate the circumstances around her
death, the Defendants removed or did not document what they observed, removed
phone calls between the March 15th 2018 and March 20th 2018, delayed turning
over Rosemary and the results of the autopsy, left out the underlying cause of the
pulmonary infarction, attempted to prevent her family from performing a
quick/timely independent autopsy immediately after, and warned that they could
not release Rosemary for 2 months.

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       After Rosemary's family applied pressure to retrieve her, even though the
samples taken were not released for about another year, the state's autopsy report
made no mention of Rosemary's underlying cause of death. It mentions a
pulmonary infarction as the main cause, but the underlying cause was left blank.
This is unheard of and inexcusable.

       After having an independent autopsy performed, they were able to confirm
that the underlying cause of death was a collection of small pulmonary emboli.
According to the CDC this is both a preventable and treatable condition.

       Aliceville's medical staff are directly responsible for Rosemary's death. To
be clear: Rosemary did everything she could from her position. It is not the case
that a set of individuals simply "overlooked" something, and the victim of their
deliberate indifference kept silent. Rosemary repeatedly voiced her complaints, and
carried symptoms so obvious that her fellow inmates mentioned them in letters and
interviews. She also verbalized many of her afflictions and concerns in recorded
phone calls to her children. When the situation got worse, the correctional officers
were called via the emergency alarm, and were deliberately indifferent to her
medical needs. Not once, but twice. To make matters worse the Defendants made
attempts to cover up their wrongdoing.

        In refusing to evaluate or respond to Rosemary's grievances regarding
medical care, all Defendants acted jointly and in concert with each other. Each
Defendant had the duty and the opportunity to protect Rosemary, to obtain
necessary medical treatment for Rosemary's in a timely manner, and to refrain from
belittling Mrs. Iriele and dismissing her pain, suffering, and emotional distress.
Each defendant, instead, failed and refused to perform such duty, thereby
proximately causing Rosemary's extreme pain and suffering and emotional distress
and eventual death.



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Deliberate Indifference to Serious Medical Needs and Wrongful Death

All references in the fact section should be incorporated here as well.

These Defendants, despite the knowledge each had of Mrs. Iriele's serious medical
needs, the need for immediate serious medical treatment, and the foreseeable
consequences of not adequately treating these serious medical needs, took no
action or took clearly inadequate, cursory action, so as to amount to no treatment,
prevented her from receiving necessary and appropriate treatment and care, and
were so grossly incompetent and inadequate as to shock the conscience.
The medical defendants were not investigating, by testing or otherwise, the causes
of significant deteriorations of inmate health or symptoms that obviously indicate
potentially life-threatening conditions. They were deliberately indifferent to
Rosemary's medical needs on numerous occasions. The only complete examination
done on Rosemary was after her death.

       The correctional officers were acutely aware of Rosemary's medical needs
because they literally walked over to her after Leslie hit the alarm to see her dying
only to shut off the alarm and say "she will be alright. She can go to medical".

Throughout this entire process the only thing Rosemary required was blood
thinners, anticoagulants, and thrombolytics to save her life. Had the medical staff
actually examined her, they clearly would have seen this. But Rosemary died on
their watch. When they knew their wrongdoing would be exposed the defendants
made efforts to hide records, and obfuscate the circumstances around Rosemary's
death. Had it not been for Rosemary making every attempt to inform everyone
around her of medical needs they would have gotten away with it. She called her
children, she told her fellow inmates, and her cellmate; so it is beyond belief that
lay people like Rosemary's children and fellow inmates were aware of her serious
medical need and Aliceville staff was not. Aliceville tried, unsuccessfully, to bury


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their wrongdoing - they are now being legally held to account for the ridiculous
deliberate indifference shown to Rosemary.




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